 Case 18-18455-ref       Doc 25     Filed 02/22/19 Entered 02/22/19 15:32:44            Desc Main
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                   IN THE UNITED STATES BANKRUPTCY COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA (READING)
IN RE:
ELFRIDO MATEO                                                 BK. No. 18-18455-ref
                                                        :
AKA ELFRIDO MANUEL MATEO
                                                        :
LIZETTE MATEO                                                 Chapter No. 7
                                                        :
AKA LIZETTE LATORRE
                                                        :
                    Debtors
                                                        :
                                                        :
WELLS FARGO BANK, N.A.
                                                        :
                    Movant                                    11 U.S.C. §362
                                                        :
               v.
                                                        :
ELFRIDO MATEO
                                                        :
AKA ELFRIDO MANUEL MATEO
                                                        :
LIZETTE MATEO
                                                        :
AKA LIZETTE LATORRE
                                                        :
               and
                                                        :
LYNN E. FELDMAN, ESQUIRE (TRUSTEE)
                    Respondents

                       ORDER MODIFYING §362 AUTOMATIC STAY

       AND NOW, upon Motion of WELLS FARGO BANK, N.A. (Movant), it is:



        ORDERED that Relief from the Automatic stay of all proceedings, as provided under 11
U.S.C. §362 is granted with respect to, 616 N 16TH STREET, ALLENTOWN, PA 18102 NKA 616
N 16TH STREET, ALLENTOWN, PA 18102-2018(hereinafter the Premises) (as more fully set forth
in the legal description attached to the Mortgage of record granted against the Premises), as to allow
Movant, its successors or assignees, to proceed with its rights under the terms of said Mortgage.


   Date: February 22, 2019
                                           ___________________________________
                                           RICHARD E. FEHLING, BANKRUPTCY JUDGE


 LYNN E. FELDMAN, ESQUIRE                  ELFRIDO MATEO AKA ELFRIDO MANUEL
 (TRUSTEE)                                 MATEO
 221 N. CEDAR CREST BLVD.                  616 N 16TH ST
 ALLENTOWN, PA 18104                       ALLENTOWN, PA 18102-2018

 DAVID A. VAIDA, ESQUIRE                   LIZETTE MATEO AKA LIZETTE LATORRE
 137 N. 5TH STREET                         616 N 16TH ST
 ALLENTOWN, PA 18102                       ALLENTOWN, PA 18102-2018

 UNITED STATES TRUSTEE
 833 CHESTNUT STREET, SUITE 500
 PHILADELPHIA, PA 19107
